Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF OREGON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Rollin Dirty LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8080 Hughey Ln.
                                  Tillamook, OR 97141
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Tillamook                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Rollin Dirty LLC                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                                 Case 23-31150-thp11                  Doc 1         Filed 05/23/23
Debtor    Rollin Dirty LLC                                                                                Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Rollin Dirty LLC                                                          Case number (if known)
         Name

                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Rollin Dirty LLC                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 23, 2023
                                                  MM / DD / YYYY


                             X   /s/ Wilbur Manard Sims III                                               Wilbur Manard Sims III
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Ted A. Troutman                                                       Date May 23, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ted A. Troutman
                                 Printed name

                                 Troutman Law Firm P.C.
                                 Firm name

                                 5075 SW Griffith Dr.
                                 Ste 220
                                 Beaverton, OR 97005
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     503-292-6788                  Email address      tedtroutman@sbcglobal.net

                                 844470 OR
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                                             Case 23-31150-thp11                   Doc 1         Filed 05/23/23
 Fill in this information to identify the case:
 Debtor name Rollin Dirty LLC
 United States Bankruptcy Court for the: DISTRICT OF OREGON                                                                                  Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Business                                                                                                  $105,000.00                        $0.00            $105,000.00
 Equipment Funding
 c/o Paul Jacobellis,
 Authorized Rep.
 7174 SW 196th Terr.
 Beaverton, OR
 97007
 CCS Commercial,                                     Collection                                                                                                    $3,384.50
 LLC                                                 Account
 725 Canton Street
 Norwood, MA 02062
 Financial Pacific                                   1994 Kenworth                                          $52,000.00                 $25,000.00                $27,000.00
 Leasing, Inc.                                       Log Truck
 c/o CT Corporation
 System, RA
 780 Commercial
 Street SE, Suite 100
 Salem, OR 97301
 Grease Junkies,                                     Services                                                                                                      $9,600.00
 LLC
 198 49th Avenue SE
 Salem, OR 97317
 Internal Revenue                                    2021 - 2022 Tax                                                                                             $16,000.00
 Service                                             Obligation
 Centralized
 Insolvency
 Solutions
 PO Box 7346
 Philadelphia, PA
 19101
 Mark Capital                                        2002 Kenworth                                         $116,000.00                 $92,000.00                $24,000.00
 Finance, LLC                                        W900L Log Truck
 c/o Mark Schaake,
 CEO
 4901 Scenic Drive
 Yakima, WA 98908



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




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 Debtor    Rollin Dirty LLC                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 ODR - Bkcy                                          2021 - 2022 Tax                                                                                               $3,600.00
 955 Center NE #353                                  Obligation
 Salem, OR 97301
 Oregon Coast Bank                                   Overdraft Account                                                                                             $7,500.00
 2211 N Main Ave.
 Tillamook, OR 97141
 Pape Kenworth                                       Services                                                                                                      $6,700.00
 91195 Coburg
 Industrial Way
 Eugene, OR 97408
 Peterson Truck                                      Services                                                                                                      $9,350.00
 3796 Turner Rd SE
 Salem, OR 97302
 Progressive                                         Services                                                                                                      $9,650.00
 Commercial
 Insurance
 6300 Wilson Mills
 Rd.
 Mayfield Village, OH
 44143
 Steve Kenny                                         Services                                                                                                    $10,300.00
 Excavation
 91569 George Hill
 Road
 Astoria, OR 97103
 TEC Equipment                                       Services                                                                                                    $10,600.00
 2475 NW Canal
 Blvd.
 Redmond, OR 97756
 Vader Servicing,                                    Bank of America -                                      $22,500.00                       $10.46              $22,489.54
 LLC                                                 Checking - Acct#
 c/o National                                        3122
 Registered Agents,
 Inc., RA
 28 Liberty Street
 New York, NY 10005
 WaFd Bank                                           Checking                                                                                                      $2,750.00
 611 Main Street                                     Overdraft
 Dallas, OR 97338
 Wags Innovations,                                   Services                                                                                                      $3,260.00
 LLC
 1811 10th Street
 Tillamook, OR 97141




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




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Ted A. Troutman, OSB #844470
Troutman Law Firm, PC
5075 SW Griffith Dr., Suite 220
Beaverton, OR 97005
(503) 292-6788
tedtroutman@sbcglobal.net




                      IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF OREGON



In re:                                                Case No.

ROLLIN DIRTY LLC,                                     CERTIFICATE OF SERVICE

                                   Debtor(s).



I, Lisette Barajas, Declare as follow:

          I certify that on May 23, 2023, I served, by first class mail, a full and true copy of
the attached List of Creditors Holding 20 Largest Unsecured Claims, Labels of the 20
Largest Unsecured Creditors and Certificate of Service on the following by causing a
copy thereof to be placed in a sealed envelope, postage prepaid, addressed as shown below,
in the U.S. Mail at Beaverton, Oregon on the date indicated below:


                                          Rollin Dirty LLC
                                          8080 Hughey Ln.
                                         Tillamook OR 97141

                                  Office of the United States Trustee
                                   1220 SW 3rd Avenue, Room 315
                                         Portland, OR 97204


                                            Dated: May 23, 2023

                                            /s/ Lisette Barajas
                                            Lisette Barajas, Legal Assistant to
                                            Ted A. Troutman



Page 1 Certificate of Service



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                                                      United States Bankruptcy Court
                                                                     District of Oregon
 In re    Rollin Dirty LLC                                                                                        Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Wilbur Manard Sims III                                                            100%                                       Owner
8080 Hughey Lane
Tillamook, OR 97141


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date May 23, 2023                                                        Signature /s/ Wilbur Manard Sims III
                                                                                        Wilbur Manard Sims III

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




                                           Case 23-31150-thp11                     Doc 1         Filed 05/23/23
